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EXHIBIT B
                Case 1:22-cv-04377-JPB               Document 11-3             Filed 03/03/23   Page 2 of 4


Aquino, Luciana

From:                               Ben Perkins <bperkins@olivermaner.com>
Sent:                               Wednesday, February 22, 2023 6:39 PM
To:                                 Aquino, Luciana
Cc:                                 Loomis, Kenan; Ingram, Christine
Subject:                            RE: Waiver of Service Zurich v. Patriot Modular, et al.



**EXTERNAL SENDER**

Lucy,
I do not know. I will let you know if I find the answer.

Ben Perkins
Oliver Maner LLP
912-238-2515 (direct dial)

From: Aquino, Luciana <LAquino@cozen.com>
Sent: Wednesday, February 22, 2023 3:59 PM
To: Ben Perkins <bperkins@olivermaner.com>
Cc: Loomis, Kenan <kloomis@cozen.com>; Ingram, Christine <CIngram@cozen.com>
Subject: RE: Waiver of Service Zurich v. Patriot Modular, et al.

Mr. Perkins,

Thank you for your email. Do you know who is Patriot’s current Registered Agent? We have attempted to serve the
Registered Agent on file with the Texas Secretary of State, Mr. Justin Kreft, but have been advised that he is no longer
the registered agent for Patriot.

Thank you,

                        Lucy Aquino
                        Associate Attorney | Cozen O'Connor
                        The Promenade, 1230 Peachtree Street NE Suite 400 | Atlanta, GA 30309
                        P: 404-572-2086
                        Email || Map | cozen.com




From: Ben Perkins <bperkins@olivermaner.com>
Sent: Wednesday, February 22, 2023 3:33 PM
To: Aquino, Luciana <LAquino@cozen.com>
Cc: Loomis, Kenan <kloomis@cozen.com>; Ingram, Christine <CIngram@cozen.com>
Subject: RE: Waiver of Service Zurich v. Patriot Modular, et al.

**EXTERNAL SENDER**

Ms. Aquino,
I haven't been retained to represent Patriot in any matters other than the Indian Harbor case and thus have not been
authorized to accept service generally for Patriot.
Best regards,

                                                                  1
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Ben

Ben Perkins
Oliver Maner LLP
912-238-2515 (direct dial)

From: Aquino, Luciana <LAquino@cozen.com>
Sent: Tuesday, February 14, 2023 1:56 PM
To: Ben Perkins <bperkins@olivermaner.com>
Cc: Loomis, Kenan <kloomis@cozen.com>; Ingram, Christine <CIngram@cozen.com>
Subject: Waiver of Service Zurich v. Patriot Modular, et al.

Mr. Perkins,

I just left a voice message but wanted to email as well. As you know, Zurich American Insurance Company has filed a
declaratory judgment action against Patriot Modular, LLC in the United States District Court for the Northern District of
Georgia. It is our understanding that you have been retained to represent Patriot Modular with respect to this action.

In order avoid service costs, I have attached Plaintiff’s Complaint for Declaratory Judgment, a Summons directed to
Patriot Modular, as well as a copy of the Waiver of Service of Summons for the above-referenced matter. I would ask
that you please sign the Waiver of Service of Summons and return it to me within the next ten days. Should we not
received the executed Waiver of Service, we will assume that you are not willing to waive service and will proceed with
efforts to formally serve Patriot Modular. Please be advised that if we are forced to serve Patriot Modular through
formal methods, we will ask that the court award us costs for doing so.

Thank you for your attention to this matter. Should you wish to discuss this matter further, please feel free to contact
me.



                       Lucy Aquino
                       Associate Attorney | Cozen O'Connor
                       The Promenade, 1230 Peachtree Street NE Suite 400 | Atlanta, GA 30309
                       P: 404-572-2086
                       Email || Map | cozen.com




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